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| IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

INDICTMENT

UNITED STATES OF AMERICA, )
. )
)
) a «BD
V. ) CASE NO,
)
)
)
)
)

Plaintiff,

Title 26, United States Code,
_ Sections 5841, 5861(d) and

5871; Title 18, United States

Code, Sections 922(0) and
92d(ay(2)

JON LENGEL,

. Defendant.

 

COUNT 1
(Possession of Machineguns, 18 U.S.C. §§ 922(0) and 924(a)(2))
The Grand Jury charges:
1. On or about April 1, 2019 in the Northern District of Ohio, Eastern Division,

Defendant JON LENGEL knowingly possessed machineguns, to wit: Ground Zero model GZ-15
5.56mm NATO caliber firearm bearing serial number GZ00013, Ground Zero model GZ-15,
223 Remington caliber firearm bearing serial number GZ0001, Sten-type 9mm Luger caliber
firearm with no serial number, PPS-43-type 9mm Luger caliber machinegun bearing serial
number KT02233, Croatia Sokac model machinegun bearing serial number 1692, Fabrique
National model FAL 7.62mm NATO caliber firearm bearing serial number 230216, Sterling-
type 9 mm Luger caliber firearm with no serial number, Ground Zero model GZ-15 5.56 NATO
caliber firearm bearing serial number GZ0002, and thirteen (13) machinegun conversion devices,

in violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).
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COUNT 2
(Possession of Unregistered Firearms, 26 U.S.C. §§§ 5841, 5861(d) and 5871)

The Grand Jury further charges:

2. On or about April 1, 2019 in the Northern District of Ohio, Eastern Division,
Defendant JON LENGEL knowingly received and possessed firearms as defined in Title 26,
United States Code, Section 5845(a)(6), to wit: Ground Zero model GZ-15 5 56mm NATO
caliber firearm bearing serial number GZ00013, Ground Zero model GZ-15, .223 Remington
caliber firearm bearing serial number GZ0001, Sten-type 9mm Luger caliber firearm with no
serial number, PPS-43-type 9mm Luger caliber machinegun bearing serial number KT02233,
Croatia Sokac model machinegun bearing serial number 1692, Fabrique National model FAL
7.62mm NATO caliber firearm beating serial number 230216, Sterling-type 9 mm Luger caliber
firearm with no serial number, Ground Zero model GZ-15 5.56 NATO caliber firearm bearing
serial number GZ0002, and thirteen (13) machinegun conversion devices, not registered to him
in the National Firearms Registration and Transfer Record, in violation of Title 26, United States
Code, Sections 5841, 5861(d) and 5871.

COUNT 3
(Possession of an Unregistered Firearm, 26 U.S.C. §§§ 5841, 5861(d) and 5871)

The Grand Jury further charges:.

3. On or about April 1, 2019 in the Northern District of Ohio, Eastern Division,
Defendant JON LENGEL knowingly received and possessed a firearm as defined in Title 26,
United States Code, Section 5845(a)(3), to wit: Vector Arms, model V-93,

.223 Remington riffle with a barrel less than 16 inches in length, bearing serial number U9640,
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not registered to him in the National Firearms Registration and Transfer Record, in violation of

Title 26, United States Code, Sections 5841, 5861(d) and 5871.

A TRUE BILL. |

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
